   Case 23-11060            Doc 8     Filed 06/29/23 Entered 06/29/23 16:15:51                 Desc Ch. 11 Non
                                        Indiv. Order to Upd Page 1 of 2
                                      UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF MASSACHUSETTS


In Re:       Vantage Travel Service, Inc. ,                            Chapter: 11
             Debtor                                                    Case No: 23−11060
                                                                       Judge Janet E. Bostwick


                                                    ORDER TO UPDATE
                                              (Non Individuals Filing Chapter 11)

TO DEBTOR'S COUNSEL: YOU ARE HEREBY ORDERED to file with this Court the document(s) checked
below. Failure to file the required documents with the Clerk's Office may result in the dismissal of this case.

 NOTE: Official Forms, Director Forms and Local Forms may be downloaded from the Court's website at
                                       www.mab.uscourts.gov

               Matrix (List of Creditors): Must be filed with the Voluntary Petition. (MLBR 1007−1). The Court may
         −     dismiss the case for failure to file the matrix with the Petition.

               Matrix.txt File: Must be uploaded with the Voluntary Petition. (MLBR 1007−1). The Court may
               dismiss the case for failure to file the matrix with the Petition. In addition to the pdf version of the
         −     matrix, a .txt file listing the names and addresses of all of your creditors must be uploaded to the ECF
               database. (From the ECF Bankruptcy Menu, Select "Creditor Maintenance" then select Upload list of
               creditors file.)

         −     Verification of Matrix
               Due: 06/30/2023
         −     Provide EIN or Tax ID Number
               Due:
         −     Signature missing or incorrect the petition must be signed by Attorney/Debtor.____________
               Due:
         −     Corporate Vote
               Due:
               Filing fee: Payment in the full amount of $1738.00. (NOTE: No debtor checks accepted, money order
         −     or bank checks only made payable to: "Clerk, U.S. Bankruptcy Court").
               Due:
         −     Small Business Debtor Requirements: (Most Recent)
               − Balance Sheet
               − Statement of Operations
               − Cash−flow Statement
               − Federal Income Tax Returns
               − If you do NOT have these documents, provide a statement under penalty of perjury that you do not
               have these documents, that you have not prepared either a balance sheet, statement of operations, or
               cash−flow statement or you have not filed a federal tax return.
               Due:
         −     Declaration of Electronic Filing (Local Form 7)
               Due:
               Attachment to Voluntary Petition for Non−Individuals Filing for Bankruptcy Under Chapter 11,
         −     (Official Form 201A)(Ch. 11 Debtor required to file report with SEC)
               Due:
         −     Other:
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                 PLEASE SEE NEXT PAGE FOR ADDITIONAL MISSING DOCUMENTS

The documents checked below must be filed with the Court no later than 7/13/23

    Schedule(s) are missing or incomplete: A−H
    Summary of Assets and Liabilities for Non−Individuals (Official Form 206Sum)
    Declaration Under Penalty of Perjury for Non−Individual Debtors (Official Form 202)
    Statement of Financial Affairs for Non−Individuals Filing for Bankruptcy, (Official Form 207)
    Disclosure of Compensation of Attorney for Debtor (Director Form 2030)
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not
    Insiders (Official Form 204)
    List of Equity Security Holders of Debtor; FRBP 1007(a)(3) − Corporations.
    Disclosure of Ownership Statement Rule 1007(a)(1).
    Evidence of Current and Sufficient Liability and Property Insurance on Any Real Estate or Vehicle(s)
    Owned by the Debtor or Joint Debtor
    New schedule listing post−petition creditors (in converted cases only). Please check one of the options
below, then sign and date
    and return to the Court at the address below.

            List and Verified Declaration attached.
            No post−petition creditors. Signature _________________________ Date __________

      United States Bankruptcy
      Court                                  United States Bankruptcy            United States Bankruptcy
      John W. McCormack Post                 Court                               Court
      Office and Court House                 211 Donohue Federal Building        United States Courthouse
      5 Post Office Square, Suite            595 Main Street                     300 State Street, Suite 220
      1150                                   Worcester, MA 01608−2076            Springfield, MA 01105−2925
      Boston, MA 02109−3945

Date: 6/29/23                                                    By the Court,

                                                                 Susan Keating
                                                                 Deputy Clerk
                                                                 617−748−5333
